Case 3:18-cv-00823-JAG Document 1-1 Filed 11/28/18 Page 1 of 6 PageID# 7



               A




                      '<0-




                                          0                  X


                             s /«•                  Sb"                                   <c'^
                                                                     v£>       ^        /^*
                                                                 /             ricS
                                                            O" ^<5"        <?
                                                          i# .^° >o^
                                                  -;$>      . o'
                                                                                   >P     <<>'

                                                 V                   V/
                                                                   ./V     ^
                                                                               -I ^
Case 3:18-cv-00823-JAG Document 1-1 Filed 11/28/18 Page 2 of 6 PageID# 8
Case 3:18-cv-00823-JAG Document 1-1 Filed 11/28/18 Page 3 of 6 PageID# 9
Case 3:18-cv-00823-JAG Document 1-1 Filed 11/28/18 Page 4 of 6 PageID# 10
Case 3:18-cv-00823-JAG Document 1-1 Filed 11/28/18 Page 5 of 6 PageID# 11
Case 3:18-cv-00823-JAG Document 1-1 Filed 11/28/18 Page 6 of 6 PageID# 12
